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                                    United States District Court
                                       District Of Maryland
     Chambers of                                                                     101 West Lombard Street
Ellen Lipton Hollander                                                               Baltimore, Maryland 21201
  District Court Judge                                                                     410-962-0742

                                                 July 16, 2018

       MEMORANDUM TO COUNSEL

              Re:        AT&T Corp. v. Cuddy & Associates, LLC
                         Civil Action No. ELH-18-2150

       Dear Counsel:

               As you know, on July 13, 2018, plaintiff AT&T Corp. (“AT&T”) filed suit, alleging
       trespass to chattel, negligence, and negligence per se against Cuddy & Associates, LLC
       (“Cuddy”), who allegedly damaged AT&T fiber-optic cables during an excavation project. See
       ECF 1 (“Complaint”).

               The suit was filed on the basis of diversity jurisdiction, pursuant to 28 U.S.C. § 1332(a).
       See ECF1, ¶¶ 1-3. Upon review of the Complaint, however, the existence of diversity
       jurisdiction is not apparent. And, federal courts “have an independent obligation to determine
       whether subject-matter jurisdiction exists, even when no party challenges it.” Hertz Corp. v.
       Friend, 559 U.S. 77, 94 (2010).

               Section 1332(a) grants jurisdiction over “civil actions where the matter in controversy
       exceeds the sum or value of $75,000, exclusive of interest and costs, and is between—citizens of
       different States[.]” 28 U.S.C. § 1332(a)(1). Notably, jurisdiction under § 1332 “requires
       complete diversity among parties, meaning that the citizenship of every plaintiff must be
       different from the citizenship of every defendant.” Cent. W. Va. Energy Co. v. Mountain State
       Carbon, LLC, 636 F.3d 101, 103 (4th Cir. 2011) (emphasis added). The “burden of establishing
       subject matter jurisdiction is on . . . the party asserting jurisdiction.” Robb Evans & Assoc’s.,
       LLC v. Holibaugh, 609 F.3d 359, 362 (4th Cir. 2010); accord Hertz, 559 U.S. at 96-97.

              Plaintiff describes Cuddy as “a Maryland limited liability company with its principal
       place of business in Joppa, Harford County, Maryland.” ECF 1, ¶ 2. If Cuddy were a
       corporation, this statement would be sufficient to allege its citizenship under 28 U.S.C.
       § 1332(c)(1), which provides that a corporation is “deemed to be a citizen of every State and
       foreign state by which it has been incorporated and of the State or foreign state where it has its
       principal place of business.” However, Cuddy is not a corporation; it is a limited liability
       company (“LLC”). See ECF 1, ¶ 2.

               The citizenship test of § 1332(c)(1) does not apply to an LLC. Rather, “[f]or purposes of
       diversity jurisdiction, the citizenship of a limited liability company . . . is determined by the
       citizenship of all of its members.” Mountain State, 636 F.3d at 103. Plaintiff has not identified
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Cuddy’s members or provided information as to their citizenship. Notably, the citizenship of an
LLC or other unincorporated association “must be traced through however many layers of
partners or members there may be.” Hart v. Terminex Int’l, 336 F.3d 541, 543 (7th Cir. 2003).

        Accordingly, by July 27, 2018, counsel for AT&T shall submit a statement clarifying the
parties’ citizenship and the basis for the Court’s exercise of diversity jurisdiction.

        Despite the informal nature of this Memorandum, it is an Order of the Court, and the
Clerk is directed to docket it as such.


                                       Very truly yours,
                                           /s/
                                       Ellen Lipton Hollander
                                       United States District Judge




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